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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

Andrew H. Stevens, et al.,

                      Plaintiff,
                                                       Civil Action 2:20-cv-1230
       v.                                              Judge Marbley
                                                       Magistrate Judge Deavers
City of Columbus, et al.,

                      Defendant.

                                     RULE 26(f) REPORT

      Pursuant to Federal Rule of Civil Procedure 26(f), a meeting was held on August 5, 2020
and was attended by:

Maurice A. Thompson                         , counsel for plaintiff(s) Andrew H. Stevens, et al.       ,

                                            , counsel for plaintiff(s)                                 ,

Janet R. Hill Arbogast                      , counsel for defendant(s) City of Columbus, et al.    ,

                                            , counsel for defendant(s)                             ,

Counsel represent that, during the meeting, they engaged in a meaningful attempt to meet and
confer on the matters outlined below.

1.     CONSENT TO MAGISTRATE JUDGE

Do the parties consent to Magistrate Judge jurisdiction pursuant to 28 U.S.C. § 636(c)?

      Yes        X   No

2.     INITIAL DISCLOSURES

Have the parties agreed to make initial disclosures?
  X   Yes            No      _____The proceeding is exempt under Rule 26(a)(1)(B)

If yes, such initial disclosures shall be made by September 30, 2020.
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3.       VENUE AND JURISDICTION
Are there any contested issues related to venue or jurisdiction?
       Yes         X   No

If yes, describe the issue:

If yes, the parties agree that any motion related to venue or jurisdiction shall be filed by
             .
4.       PARTIES AND PLEADINGS

     a. The parties agree that any motion or stipulation to amend the pleadings or to join
        additional parties shall be filed by September 1, 2020.

     b. If the case is a class action, the parties agree that the motion for class certification shall be
        filed by              .

5.       MOTIONS

     a. Are there any pending motion(s)?

           X   Yes              No

         If yes, indicate which party filed the motion(s), and identify the motion(s) by name and
         docket number:

         Plaintiffs’ Motion to Certify Important Questions of State Constitutional Law to the
         Ohio Supreme Court, filed June 10, 2020 as Doc. #23.

     b. Are the parties requesting expedited briefing on the pending motion(s)?
               Yes          X   No

         If yes, identify the proposed expedited schedule:

         Opposition to be filed by              ; Reply brief to be filed by              .

6.       ISSUES

Jointly provide a brief description of case, including causes of action set forth in the complaint, and
indicate whether there is a jury demand:

Plaintiffs have challenged the requirement that landscaping be “compatible” within historic
districts of the City of Columbus and the penalties associated with incompatible landscaping
on constitutional grounds (Due Process and Excessive Fines). The Court has already
determined the Due Process Claims, and only the Excessive Fines Clause remains for
determination.

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7.       DISCOVERY PROCEDURES

      a. The parties agree that all discovery shall be completed by October 30, 2020. The parties
         agree to schedule their discovery in such a way as to require all responses to discovery
         to be served prior to the cut-off date, and to file any motions relating to discovery
         within the discovery period unless it is impossible or impractical to do so. If the parties
         are unable to reach an agreement on any matter related to discovery, they are directed to
         arrange a conference with the Court. To initiate a telephone conference, counsel are
         directed to join together on one line and then call the Magistrate Judge’s chambers or
         provide the Court with a call-in number.

      b. Do the parties anticipate the production of ESI?       Yes     X    No

         If yes, describe the protocol for such production:


      c. Do the parties intend to seek a protective order or clawback agreement? No

         If yes, such order or agreement shall be produced to the Court by            .

8.       DISPOSITIVE MOTIONS

      a. Any dispositive motions shall be filed by November 16, 2020.

      b. Are the parties requesting expedited briefing on dispositive motions?

           X Yes               No

         If yes, identify the proposed expedited schedule:

         Opposition to be filed by December 14, 2020; Reply brief to be filed by December 28,
         2020.

9.       EXPERT TESTIMONY

      a. Primary expert reports must be produced by              .

      b. Rebuttal expert reports must be produced by              .

10.      SETTLEMENT

Plaintiff(s) will a make a settlement demand by not applicable. Defendant will respond by         .
The parties agree to make a good faith effort to settle this case. The parties understand that this
case will be referred to an attorney mediator, or to the Magistrate Judge, for a settlement
conference. The Court refers cases to settlement throughout the year. The parties request the
following month and year: ________________ 20___


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 In order for the conference to be meaningful, the parties agree to complete all discovery that may
 affect their ability to evaluate this case prior to the settlement conference. The parties
 understand that they will be expected to comply fully with the settlement conference orders
 which require, inter alia, that settlement demands and offers be exchanged prior to the
 conference and that principals of the parties attend the conference.

11.    RULE 16 PRETRIAL CONFERENCE

 Do the parties request a scheduling conference?

        Yes, the parties would like a conference with the Court prior to it issuing a scheduling
  order. The parties request that the conference take place               in chambers         by
  telephone.

   X No, a conference is not necessary; the Court may issue a scheduling order after
 considering this Report.

12.    OTHER MATTERS

 Indicate any other matters for the Court’s consideration:
 Defendants request a deadline of September 3, 2020, to answer Plaintiffs’ Complaint, and
 Plaintiffs do not oppose this.

 Plaintiffs maintain some concern about whether the Court has adequately addressed
 Plaintiffs as-applied claims, such that a remand for further consideration of the evidence
 may be triggered upon an appeal. Defendants do not share Plaintiffs concern. The
 Parties agree that no order of this Court is final and appealable until Plaintiffs’ Excessive
 Fines Clause claim is determined.

Attorney for Plaintiff(s):                             Attorney for Defendant(s):

Maurice A. Thompson                                    Janet R. Hill Arbogast
Counsel for Plaintiffs                                 Counsel for Defendants
Bar #0078548                                           Bar #0061955


                                                       Andrew D. M. Miller
Counsel for                                            Counsel for Defendants
Bar #                                                  Bar #0074514



Date: August 6, 2020




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